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                          FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT


          GERALD ROSS PIZZUTO, JR.,                No. 16-36082
                       Petitioner-Appellant,
                                                     D.C. No.
                           v.                     1:05-cv-00516-
                                                       BLW
          KEITH YORDY, Warden, Idaho
          Maximum Security Institution,            ORDER AND
                       Respondent-Appellee.         AMENDED
                                                     OPINION


                Appeal from the United States District Court
                          for the District of Idaho
              B. Lynn Winmill, Chief District Judge, Presiding

                 Argued and Submitted December 11, 2018
                         San Francisco, California

                         Filed August 14, 2019
                       Amended December 31, 2019

               Before: Raymond C. Fisher, Ronald M. Gould
                and Johnnie B. Rawlinson, Circuit Judges.

                            Per Curiam Opinion
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                                    SUMMARY*


                         Habeas Corpus /Death Penalty

            The panel affirmed the district court’s denial of Gerald
         Ross Pizzuto, Jr.’s successive habeas corpus petition in which
         Pizzuto challenged, based on Atkins v. Virginia, 536 U.S. 304
         (2002), the Idaho Supreme Court’s 2008 decision that his
         execution is not barred under an Idaho law prohibiting the
         execution of intellectually disabled offenders.

             Applying 28 U.S.C. § 2254(d)(1), the panel held that the
         record does not establish that the Idaho Supreme Court’s
         decision was contrary to or involved an unreasonable
         application of United States Supreme Court precedent. The
         panel wrote that although the state court’s decision was
         contrary to clinical standards in place at the time, it was not
         obvious at that time that strict adherence to the clinical
         standards was required. The panel also wrote that although
         the state court’s requirement of an IQ of 70 or below is
         contrary to Hall v. Florida, 572 U.S. 701 (2014); Brumfield
         v. Cain, 135 S. Ct. 2269 (2015); and Moore v. Texas, 137
         S. Ct. 1039 (2017), these decisions all postdated the state
         court’s decision, and it was not obvious under Atkins alone
         that, for Eighth Amendment purposes, an individual with an
         IQ test score between 70 and 75 or lower may show
         intellectual disability by presenting additional evidence
         regarding difficulties in adaptive functioning.




             *
              This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
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             Applying 28 U.S.C. § 2254(d)(2), the panel held that the
         record does not establish that the Idaho Supreme Court’s
         decision was based on an unreasonable determination of the
         facts in light of the evidence presented in the state court
         proceeding. The panel rejected Pizzuto’s contention that the
         state court’s factual determinations are unreasonable merely
         because the state court did not apply the clinical definitions
         of intellectual disability. The panel rejected Pizzuto’s
         contention that the state court unreasonably failed to consider
         his school records as evidence of subaverage intellectual
         functioning. The panel rejected Pizzuto’s argument that the
         state court unreasonably determined that his IQ could have
         declined in adulthood due to drug abuse and epilepsy.
         Regarding Pizzuto’s argument that the state court’s denial of
         an evidentiary hearing was based on an unreasonable
         determination of the facts, the panel wrote that the Idaho
         Supreme Court never addressed the question of whether
         Pizzuto raised a reasonable doubt regarding his intellectual
         capacity, and that the Idaho Supreme Court’s failure to apply
         a “reasonable doubt” standard was not contrary to or an
         unreasonable application of Atkins. The panel wrote that
         under the circumstances, the denial of an evidentiary hearing
         did not render the state court’s factfinding process
         unreasonable under § 2254(d)(2)’s highly deferential
         standard.

             Because 28 U.S.C. § 2254(d) is not satisfied, the panel
         held that the district court properly denied habeas relief. The
         panel did not need to address Pizzuto’s remaining appellate
         arguments or review his Atkins claim de novo. Accordingly,
         the panel did not address whether Pizzuto is intellectually
         disabled or whether his execution would violate the Eighth
         Amendment. The panel wrote that its decision does not
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         preclude the Idaho courts from reconsidering those questions
         in light of intervening events.


                                COUNSEL

         Joan M. Fisher (argued), Assistant Federal Defender; Heather
         E. Williams, Federal Defender; Office of the Federal Public
         Defender, Sacramento, California; Bruce D. Livingston and
         Jonah Horwitz, Assistant Federal Public Defenders, Federal
         Defenders of Idaho, Capital Habeas Unit, Boise, Idaho; for
         Petitioner-Appellant.

         L. LaMont Anderson (argued), Chief, Capital Litigation Unit;
         Lawrence G. Wasden, Attorney General; Criminal Law
         Division, Office of the Attorney General, Boise, Idaho; for
         Respondent-Appellee.


                                  ORDER

             The panel has voted to deny the petition for panel
         rehearing. Judge Gould and Judge Rawlinson have voted to
         deny the petition for rehearing en banc and Judge Fisher has
         so recommended.

             The full court has been advised of the petition for
         rehearing en banc and no judge has requested a vote on
         whether to rehear the matter en banc. Fed. R. App. P. 35.

             The petition for panel rehearing and the petition for
         rehearing en banc, filed November 27, 2019 (Dkt. 71), are
         denied.
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            The opinion filed August 14, 2019, and reported at 933
         F.3d 1166, is amended. An amended opinion is filed
         concurrently with this order.

             No further petitions for rehearing may be filed.


                                       OPINION

         PER CURIAM:

             Gerald Ross Pizzuto, Jr., appeals the district court’s denial
         of his successive petition for a writ of habeas corpus, in
         which he sought relief based on the United States Supreme
         Court’s decision in Atkins v. Virginia, 536 U.S. 304 (2002).
         In Atkins, the Supreme Court held that the Eighth
         Amendment prohibits the execution of intellectually disabled
         persons.1 In response to Atkins, Idaho enacted a law
         prohibiting the execution of intellectually disabled offenders.
         See Idaho Code § 19-2515A. Pizzuto challenges the Idaho
         Supreme Court’s decision that his execution is not barred
         under that state law. See Pizzuto v. State (Pizzuto I), 202 P.3d
         642 (Idaho 2008). We have jurisdiction under 28 U.S.C.
         §§ 1291 and 2253, and we affirm the district court’s denial of
         Pizzuto’s petition. Because the record does not establish that
         the state court’s adjudication of Pizzuto’s Atkins claim
         resulted in a decision that “was contrary to, or involved an
         unreasonable application of, clearly established Federal law,
         as determined by the Supreme Court of the United States,” or
         “was based on an unreasonable determination of the facts in

             1
                We use the current clinical terms, intellectually disabled and
         intellectual disability, except when quoting from sources using the former
         terms, mentally retarded and mental retardation.
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         light of the evidence presented in the State court proceeding,”
         habeas relief may not be granted. See 28 U.S.C. § 2254(d).
         Because habeas relief is barred under § 2254(d), we do not
         address whether Pizzuto is intellectually disabled, nor
         whether his execution would violate the Eighth Amendment.

                                  BACKGROUND

            In 1986, a state trial court judge sentenced Pizzuto to
         death for the murders of Berta Herndon and her nephew Del
         Herndon. See Pizzuto I, 202 P.3d at 645. The Idaho Supreme
         Court summarized the murders as follows:

                  Pizzuto approached [the Herndons] with a .22
                  caliber rifle as they arrived at their mountain
                  cabin and made them enter the cabin. While
                  inside, he tied the Her[n]dons’ wrists behind
                  their backs and bound their legs in order to
                  steal their money. Some time later, he
                  bludgeoned Berta Herndon to death with
                  hammer blows to her head and killed Del
                  Herndon by bludgeoning him in the head with
                  a hammer and shooting him between the eyes.
                  Pizzuto murdered the Her[n]dons just for the
                  sake of killing and subsequently joked and
                  bragged about the killings to his associates.

         Id.2


             2
               The Idaho Supreme Court’s 2008 decision attributes Del Herndon’s
         shooting to Pizzuto. See Pizzuto I, 202 P.3d at 645. The Idaho Supreme
         Court’s 1991 decision, by contrast, attributes the shooting to James Rice,
         one of Pizzuto’s accomplices. See State v. Pizzuto, 810 P.2d 680, 687
         (Idaho 1991), overruled on other grounds by State v. Card, 825 P.2d 1081
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             Sixteen years later, the Supreme Court decided Atkins,
         holding that executions of intellectually disabled persons
         constitute “cruel and unusual punishments” prohibited by the
         Eighth Amendment to the United States Constitution. See
         U.S. Const. amend. VIII. Citing “powerful evidence that
         today our society views mentally retarded offenders as
         categorically less culpable than the average criminal,” the
         Court concluded that “a national consensus has developed
         against” such executions. Atkins, 536 U.S. at 316.

             The Court, however, did not adopt any single definition
         of intellectual disability. It noted that states’ “statutory
         definitions of mental retardation [we]re not identical, but
         generally conform[ed] to the clinical definitions set forth” by
         the American Association on Mental Retardation (AAMR)
         and the American Psychiatric Association. See id. at 317
         n.22. At the time, the AAMR – now known as the American
         Association on Intellectual and Developmental Disabilities
         (AAIDD) – defined intellectual disability as follows:

                  Mental retardation refers to substantial
                  limitations in present functioning. It is
                  characterized by significantly subaverage
                  intellectual functioning, existing concurrently
                  with related limitations in two or more of the
                  following applicable adaptive skill areas:
                  communication, self-care, home living, social
                  skills, community use, self-direction, health
                  and safety, functional academics, leisure, and


         (Idaho 1991). In his petition for rehearing, Pizzuto contends that the 1991
         decision is factually accurate and the 2008 decision is not, and we have no
         reason to question Pizzuto’s contention. The question is immaterial to our
         analysis.
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                 work. Mental retardation manifests before age
                 18.

         Id. at 308 n.3 (quoting AAMR, Mental Retardation:
         Definition, Classification, and Systems of Supports 5 (9th ed.
         1992)). The American Psychiatric Association’s definition
         was similar:

                 The essential feature of Mental Retardation is
                 significantly subaverage general intellectual
                 functioning (Criterion A) that is accompanied
                 by significant limitations in adaptive
                 functioning in at least two of the following
                 skill areas: communication, self-care, home
                 living, social/interpersonal skills, use of
                 community resources, self-direction,
                 functional academic skills, work, leisure,
                 health, and safety (Criterion B). The onset
                 must occur before age 18 years (Criterion C).
                 Mental Retardation has many different
                 etiologies and may be seen as a final common
                 pathway of various pathological processes
                 that affect the functioning of the central
                 nervous system.

         Id. (quoting American Psychiatric Association, Diagnostic
         and Statistical Manual of Mental Disorders 41 (4th ed. 2000)
         (DSM-IV)). The Court noted that “an IQ between 70 and 75
         or lower . . . is typically considered the cutoff IQ score for the
         intellectual function prong of the mental retardation
         definition,” id. at 309 n.5, and that “‘[m]ild’ mental
         retardation is typically used to describe people with an IQ
         level of 50–55 to approximately 70,” id. at 308 n.3 (quoting
         DSM-IV at 42–43).
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             Atkins, however, did not expressly adopt these clinical
         definitions of intellectual disability. The Court instead left
         that question to the states:

                 To the extent there is serious disagreement
                 about the execution of mentally retarded
                 offenders, it is in determining which offenders
                 are in fact retarded. In this case, for instance,
                 the Commonwealth of Virginia disputes that
                 Atkins suffers from mental retardation. Not
                 all people who claim to be mentally retarded
                 will be so impaired as to fall within the range
                 of mentally retarded offenders about whom
                 there is a national consensus. As was our
                 approach in Ford v. Wainwright, 477 U.S. 399
                 (1986), with regard to insanity, “we leave to
                 the State[s] the task of developing appropriate
                 ways to enforce the constitutional restriction
                 upon [their] execution of sentences.” Id.,
                 at 405, 416–417.

         Id. at 317 (alterations in original).

             Shortly after the Atkins decision, Idaho adopted a statute
         prohibiting imposition of the death penalty for intellectually
         disabled offenders. See 2003 Idaho Sess. Laws 399 (codified
         at Idaho Code § 19-2515A(3)). The statute defines
         intellectual disability as follows:

                 (a) “Mentally retarded” means significantly
                 subaverage general intellectual functioning
                 that is accompanied by significant limitations
                 in adaptive functioning in at least two (2) of
                 the following skill areas: communication,
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                self-care, home living, social or interpersonal
                skills, use of community resources, self-
                direction, functional academic skills, work,
                leisure, health and safety. The onset of
                significant subaverage general intelligence
                functioning and significant limitations in
                adaptive functioning must occur before age
                eighteen (18) years.

                (b) “Significantly subaverage general
                intellectual functioning” means an
                intelligence quotient of seventy (70) or below.

         Id. at 398 (codified at Idaho Code § 19-2515A(1)).

             In light of Atkins, Pizzuto filed a fifth petition for state
         post-conviction relief, challenging his death sentence on the
         ground that he was intellectually disabled. See Pizzuto I,
         202 P.3d at 645. In July 2003, the state moved to summarily
         dismiss Pizzuto’s petition. See id. at 646. In August 2003,
         Pizzuto moved to disqualify the state trial court judge. See id.
         In October 2004, Pizzuto moved for additional psychological
         testing, asking that he be transported to an appropriate
         medical facility for testing in connection with a
         neuropsychiatric evaluation by Dr. James R. Merikangas.
         Pizzuto did not notice the motion for a hearing, however. See
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         id. at 655.3 In January 2005, the state trial court denied the
         motion for disqualification. See id. at 646.

              In seeking dismissal of Pizzuto’s petition, the state argued
         that the petition was untimely under Idaho law and,
         alternatively, that Pizzuto had failed to establish a prima face
         case of intellectual disability under the new Idaho statute.4
         With respect to the latter contention, the state noted that there
         were three elements of intellectual disability – subaverage
         intellectual functioning, significant limitation in adaptive
         functioning and an onset before age 18. With respect to the
         first criterion, the state noted that Pizzuto had “a verbal IQ of
         72” – based on an IQ test administered by Dr. Michael Emery
         in 1985 – but that “[t]he Statute says 70 or below,” and “72
         is not 70 or below.” In addition, because Pizzuto’s IQ score
         of 72 was obtained when he was 28 years old, the state
         argued that “we have no indication of what his IQ was – no
         testing, at least – what his IQ . . . was before his 18th
         birthday.” The state noted that the court had “no evidence of
         an IQ test prior to age 18.”



             3
               It is not clear why Pizzuto did not notice the motion for a hearing.
         At an April 2005 hearing, “Pizzuto’s counsel stated that she could not ask
         the district court to rule on her motion for testing, apparently because she
         believed the judge should be disqualified from presiding in the case and
         therefore from ruling on the motion.” Pizzuto I, 202 P.3d at 655 & n.8.
         Counsel for Pizzuto apparently concluded that, because the court had
         erroneously denied the motion to disqualify, any order entered by the court
         on the question of testing would be void.
             4
               Initially, the state also argued for summary dismissal on the ground
         that, as a matter of state law, Atkins did not apply retroactively. See
         Pizzuto I, 202 P.3d at 646. The state subsequently abandoned that
         argument, however.
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             Pizzuto both opposed the state’s motion for summary
         dismissal and, in September 2005, moved for summary
         judgment, arguing that he had, as a matter of law, established
         a prima facie case of intellectual disability. See id. Pizzuto
         argued that the state trial court should deny the state’s motion
         for summary dismissal and grant his motion for summary
         judgment. In the alternative, Pizzuto argued that his October
         2004 motion for additional testing should be granted and the
         matter set for trial. See id. at 655–56 & n.9.

               In addressing whether Pizzuto had made a prima facie
         showing of intellectual disability under the Idaho statute, both
         sides recognized that Idaho’s requirement of an IQ of 70 or
         below was inconsistent with the AAMR and American
         Psychiatric Association clinical standards in effect at the
         time. Counsel for Pizzuto, however, acknowledged that
         Atkins did not “dictate what retardation is,” while counsel for
         the state emphasized that “[t]he United States Supreme Court
         said that the states were permitted to define mental
         retardation . . . basically as they saw fit.” The state
         recognized that the DSM and AAMR manual “talk[ed] about
         . . . a 70 IQ plus or minus five,” but the state emphasized that
         “the Idaho Statute doesn’t say that. [Section] 19-2515A is
         very specific, 70 or below. It doesn’t say plus or minus five.
         Seventy or below, period, end of story.” The state observed
         that “some states have actually gone below the 70 and one
         state . . . has gone to 75.” But “Idaho chose 70.”

             The state argued, moreover, that the margin of error was
         of no use to Pizzuto, because his “actual” IQ was as likely to
         be 77 as 67:

                [Section] 2515A says that if the Court finds
                by a preponderance of the evidence that the
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                 defendant is mentally retarded –
                 preponderance of the evidence, more likely
                 than not, . . . something over 50 percent.
                 Well, isn’t it just as likely that Pizzuto’s IQ is
                 77 as opposed to 67?               That’s not a
                 preponderance of the evidence. So, you have
                 to go with the 72 and that’s the only number
                 that this Court has before it, the only number.

             In December 2005, after a hearing on the motions, the
         state trial court dismissed Pizzuto’s petition on the grounds
         that it had not been timely filed under state law and that
         Pizzuto had failed to raise a genuine issue of material fact
         supporting his claim of intellectual disability. See id. at 646.
         Pizzuto timely appealed to the Idaho Supreme Court. See id.

              In a 2008 decision, the Idaho Supreme Court affirmed the
         state trial court’s denial of Pizzuto’s Atkins claim. See
         Pizzuto I, 202 P.3d 642. The court noted that, to survive
         summary dismissal, Pizzuto had to present evidence
         establishing a prima facie case – i.e., enough evidence to
         allow the factfinder to infer the fact at issue and rule in his
         favor – on each element of his claim under § 19-2515A(1).
         See id. at 650. The court interpreted the Idaho statute as
         requiring proof of three elements: “(1) an intelligence
         quotient (IQ) of 70 or below; (2) significant limitations in
         adaptive functioning in at least two of the ten areas listed; and
         (3) the onset of the offender’s IQ of 70 or below and the onset
         of his or her significant limitations in adaptive functioning
         both must have occurred before the offender turned age
         eighteen.” Id. at 651.

            The court concluded that Pizzuto failed to establish a
         prima facie case as to the first element – an IQ of 70 or
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         below. The record reflected only a single IQ test score for
         Pizzuto, a score of 72 on the test administered by Dr. Emery
         in December 1985, shortly before Pizzuto’s 29th birthday.
         See id. The court acknowledged Pizzuto’s argument that “an
         IQ score is only accurate within five points,” but it found
         “two problems” with Pizzuto’s argument that “his actual IQ
         could have been five points lower or higher than 72”: first, it
         would be just as reasonable for the state trial court to infer
         that his actual IQ was 77 as it would be to infer that it was 67;
         second, the state trial court was permitted to infer that his IQ
         had decreased during the 11 years between his 18th birthday
         and the date of his IQ test. Id.5




              5
                 The Idaho Supreme Court noted that the state trial court was
         permitted to draw inferences in favor of the state when considering
         whether to grant summary judgment to the state. See Pizzuto I, 202 P.3d
         at 650 (citing Shawver v. Huckleberry Estates, L.L.C., 93 P.3d 685,
         691–92 (Idaho 2004)). It is not clear whether this line of authority – see,
         e.g., Stafford v. Klosterman, 998 P.2d 1118, 1119 (Idaho 2000); E. Idaho
         Agr. Credit Ass’n v. Neibaur, 944 P.2d 1386, 1389 (Idaho 1997); Wells v.
         Williamson, 794 P.2d 626, 629 (Idaho 1990); Riverside Dev. Co. v.
         Ritchie, 650 P.2d 657, 661 (Idaho 1982) – applies where, as here, the
         nonmoving party has made clear that it does not consider the record fully
         developed. See Pizzuto I, 202 P.3d at 656 n.9; cf. 10A Charles Alan
         Wright et al., Federal Practice and Procedure § 2720 (4th ed. 2019)
         (describing, in the text accompanying note 15, the comparable practice
         under federal procedure); Int’l Bancorp, LLC v. Societe des Bains de Mer
         et du Cercle des Etrangers a Monaco, 329 F.3d 359, 362 (4th Cir. 2003);
         Matter of Placid Oil Co., 932 F.2d 394, 398 (5th Cir. 1991); Fox v.
         Johnson & Wimsatt, 127 F.2d 729, 737 (D.C. Cir. 1942). It also is not
         clear whether the state trial court in fact drew inferences in favor of the
         state; the state trial court’s ruling says only that “Pizzuto failed to raise a
         genuine issue of material fact supporting his claim of mental retardation.”
         Pizzuto, however, does not raise these questions in his opening brief, and
         so we do not address them.
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              The court noted that Pizzuto “did not offer any expert
         opinion” showing that he “had an IQ of 70 or below at the
         time of the murders and prior to his eighteenth birthday.” Id.
         at 655. Accordingly, the court held that the trial court did not
         err in granting summary judgment to the state. See id.

             We granted Pizzuto permission to file a successive federal
         habeas petition on his Atkins claim. After additional testing
         and an evidentiary hearing, the federal district court denied
         Pizzuto’s petition. See Pizzuto v. Blades (Pizzuto II), No.
         1:05-CV-516-BLW, 2012 WL 73236, at *21 (D. Idaho Jan.
         10, 2012). We initially affirmed. See Pizzuto v. Blades
         (Pizzuto III), 729 F.3d 1211, 1224 (9th Cir. 2013).

             While Pizzuto’s petition for rehearing was pending,
         however, the Supreme Court decided Hall v. Florida,
         572 U.S. 701 (2014). In Hall, the Supreme Court considered
         a Florida law defining intellectual disability “to require an IQ
         test score of 70 or less. If, from test scores, a prisoner is
         deemed to have an IQ above 70, all further exploration of
         intellectual disability is foreclosed.” Id. at 704. The Court
         held that “[t]his rigid rule . . . creates an unacceptable risk
         that persons with intellectual disability will be executed, and
         thus is unconstitutional.” Id.

             At the outset, the Court held that, “[i]n determining who
         qualifies as intellectually disabled, it is proper to consult the
         medical community’s opinions.” Id. at 710. The Court
         explained that “[t]he legal determination of intellectual
         disability is distinct from a medical diagnosis, but it is
         informed by the medical community’s diagnostic
         framework.” Id. at 721.
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             Next, once again turning to the clinical definitions
         established by the AAMR and the American Psychiatric
         Association, the Court explained that “the medical
         community defines intellectual disability according to three
         criteria: significantly subaverage intellectual functioning,
         deficits in adaptive functioning (the inability to learn basic
         skills and adjust behavior to changing circumstances), and
         onset of these deficits during the developmental period.” Id.
         at 710 (citing American Psychiatric Association, Diagnostic
         and Statistical Manual of Mental Disorders 33 (5th ed. 2013)
         (DSM-5)).

             With respect to the first criterion, the Court recognized
         that IQ test scores may be “of considerable significance.” Id.
         at 723. The Court emphasized, however, that, “in using these
         scores to assess a defendant’s eligibility for the death penalty,
         a State must afford these test scores the same studied
         skepticism that those who design and use the tests do, and
         understand that an IQ test score represents a range rather than
         a fixed number.” Id. Because “[e]ach IQ test has a ‘standard
         error of measurement’” of plus or minus five points, “an
         individual’s intellectual functioning cannot be reduced to a
         single numerical score.” Id. at 713. Thus, “IQ test scores
         should be read not as a single fixed number but as a range.”
         Id. at 712. “A score of 71, for instance, is generally
         considered to reflect a range between 66 and 76 . . . .” Id.
         at 713.6

              6
                Although the standard error of measurement applicable here, as in
         Hall, is plus or minus five points, that is not always the case. See AAIDD,
         Intellectual Disability: Definition, Classification, and Systems of Supports
         36 (11th ed. 2010) (AAIDD-11) (noting that the standard error of
         measurement “varies by test, subgroup, and age group . . . . For well-
         standardized measures of general intellectual functioning, the standard
         error of measurement is approximately 3 to 5 points.”).
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             A court, therefore, may not cut off the inquiry when a
         defendant scores between 70 and 75 on an IQ test. Rather,
         “[f]or professionals to diagnose – and for the law then to
         determine – whether an intellectual disability exists once the
         [standard error of measurement] applies and the individual’s
         IQ score is 75 or below the inquiry would consider factors
         indicating whether the person had deficits in adaptive
         functioning.” Id. at 714. The Court “agree[d] with the
         medical experts that when a defendant’s IQ test score falls
         within the test’s acknowledged and inherent margin of error,
         the defendant must be able to present additional evidence of
         intellectual disability, including testimony regarding adaptive
         deficits.” Id. at 723.7

             The Court held that Florida’s “strict IQ test score cutoff
         of 70” ran afoul of these requirements in two ways. First, it

             7
                 As the DSM-5 explains:

                   Individuals with intellectual disability have scores of
                   approximately two standard deviations or more below
                   the population mean, including a margin for
                   measurement error (generally +5 points). On tests with
                   a standard deviation of 15 and a mean of 100, this
                   involves a score of 65–75 (70 ± 5). . . . IQ test scores
                   are approximations of conceptual functioning but may
                   be insufficient to assess reasoning in real-life situations
                   and mastery of practical tasks. For example, a person
                   with an IQ score above 70 may have such severe
                   adaptive behavior problems in social judgment, social
                   understanding, and other areas of adaptive functioning
                   that the person’s actual functioning is comparable to
                   that of individuals with a lower IQ score. Thus, clinical
                   judgment is needed in interpreting the results of IQ
                   tests.

         DSM-5 at 37.
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         “disregard[ed] established medical practice” by “tak[ing] an
         IQ score as final and conclusive evidence of a defendant’s
         intellectual capacity, when experts in the field would consider
         other evidence.” Id. at 712. Second, it “relie[d] on a
         purportedly scientific measurement of the defendant’s
         abilities, his IQ score, while refusing to recognize that the
         score is, on its own terms, imprecise.” Id.

             In reaching this conclusion, the Court rejected any
         suggestion that Atkins had given states “unfettered discretion
         to define” intellectual disability. Id. at 719. The Court said
         that “[t]he clinical definitions of intellectual disability, which
         take into account that IQ scores represent a range, not a fixed
         number, were a fundamental premise of Atkins.” Id. at 720.
         The Court added:

                 If the States were to have complete autonomy
                 to define intellectual disability as they wished,
                 the Court’s decision in Atkins could become a
                 nullity, and the Eighth Amendment’s
                 protection of human dignity would not
                 become a reality. This Court thus reads
                 Atkins to provide substantial guidance on the
                 definition of intellectual disability.

         Id. at 720–21.

             Finally, in conducting a survey of state laws respecting
         the execution of intellectually disabled offenders, Hall briefly
         distinguished Idaho law from Florida’s strict IQ test score
         cutoff. Citing the Idaho Supreme Court’s decision in
         Pizzuto’s case, the Court characterized Idaho law as
         “allowing a defendant to present additional evidence of
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         intellectual disability even when an IQ test score is above
         70.” Id. at 717 (citing Pizzuto I, 202 P.3d at 651).8

             In light of Hall, we withdrew our opinion, vacated the
         judgment of the district court and remanded this case to the
         district court. See Pizzuto v. Blades (Pizzuto IV), 758 F.3d
         1178 (9th Cir. 2014).

             On remand, the district court concluded that Hall did not
         alter its previous decision. See Pizzuto v. Blades (Pizzuto V),
         No. 1:05-cv-00516-BLW, 2016 WL 6963030, at *11 (D.
         Idaho Nov. 28, 2016). The court reasoned that relief was not
         available under § 2254(d)(1), because Hall was not clearly
         established law at the time of the state court decision and,
         even if it were, the state court’s alternative basis for denying
         relief was reasonable. See id. at *6–10. The court also
         incorporated its previous conclusion that the state court’s
         decision was not based on an unreasonable determination of


             8
                 Idaho’s IQ requirement is less restrictive than the Florida
         requirement at issue in Hall because, whereas Florida required an IQ test
         score of 70, Idaho requires an “actual IQ” of 70. See Pizzuto I, 202 P.3d
         at 651. Under the Florida rule, an individual with an IQ test score of 71
         is altogether barred from establishing intellectual disability. Under the
         Idaho rule adopted in Pizzuto’s case, that individual could establish
         subaverage intellectual functioning if he could somehow show that his IQ
         test score overstated his “actual IQ.” Ultimately, however, requiring an
         individual to establish an “actual IQ” of 70 in order to satisfy the
         intellectual functioning prong of the intellectual disability definition
         suffers from a similar infirmity as the Florida rule – it fails to recognize
         that “an IQ between 70 and 75 or lower . . . is typically considered the
         cutoff IQ score for the intellectual function prong of the mental retardation
         definition,” Atkins, 536 U.S. at 309 n.5, and it fails to recognize that,
         “when the lower end of [an IQ] score range falls at or below 70, [a court
         must] move on to consider [the individual’s] adaptive functioning,” Moore
         v. Texas, 137 S. Ct. 1039, 1049 (2017).
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         the facts under § 2254(d)(2). See id. at *10. Finally, after
         reviewing the evidence again on remand, the district court
         concluded that Pizzuto was not entitled to relief even under
         de novo review. See id. at *10–11. This timely appeal
         followed.

             In briefing this appeal, the parties have discussed not only
         Atkins and Hall but also the Supreme Court’s more recent
         decisions in Brumfield v. Cain, 135 S. Ct. 2269 (2015), and
         Moore v. Texas (Moore I), 137 S. Ct. 1039 (2017). In
         Brumfield, the Court reiterated that “an IQ test result cannot
         be assessed in a vacuum” and again held, as in Hall, that “it
         is unconstitutional to foreclose ‘all further exploration of
         intellectual disability’ simply because a capital defendant is
         deemed to have an IQ above 70.” 135 S. Ct. at 2277–78
         (quoting Hall, 572 U.S. at 704). The Court also concluded
         that the state court’s rejection of the petitioner’s request for
         an evidentiary hearing on his Atkins claim was based on an
         “unreasonable determination of the facts” under § 2254(d)(2).
         See id. at 2276.

            In Moore I, the Court reaffirmed Hall’s holding that
         “adjudications of intellectual disability should be ‘informed
         by the views of medical experts.’” 137 S. Ct. at 1044
         (quoting Hall, 572 U.S. at 721). The Court explained:

                Even if “the views of medical experts” do not
                “dictate” a court’s intellectual-disability
                determination, . . . the determination must be
                “informed by the medical community’s
                diagnostic framework.” . . . . Hall indicated
                that being informed by the medical
                community does not demand adherence to
                everything stated in the latest medical guide.
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                But neither does our precedent license
                disregard of current medical standards.

         Id. at 1048–49 (citations omitted) (quoting Hall, 572 U.S.
         at 721). Thus, the Court held that “[t]he medical
         community’s current standards supply one constraint on
         States’ leeway in this area.” Id. at 1053.

             Moore I also reaffirmed Hall’s holding that courts must
         “continue the inquiry and consider other evidence of
         intellectual disability where an individual’s IQ score, adjusted
         for the test’s standard error, falls within the clinically
         established range for intellectual-functioning deficits.” Id. at
         1050. In Moore I, the petitioner’s average score on six IQ
         tests was 70.66. See id. at 1045. Thus, the Court held that,
         “[b]ecause the lower end of Moore’s score range falls at or
         below 70, the [state court] had to move on to consider
         Moore’s adaptive functioning.” Id. at 1049 (citing Hall,
         572 U.S. at 723).

             After briefing for this appeal was completed, the Supreme
         Court has twice more reviewed Atkins claims. In Shoop v.
         Hill, 139 S. Ct. 504 (2019) (per curiam), the Court
         “consider[ed] what was clearly established regarding the
         execution of the intellectually disabled in 2008.” 139 S. Ct.
         at 506–07. The Court observed that “Atkins gave no
         comprehensive definition of ‘mental retardation’ for Eighth
         Amendment purposes”; although Atkins cited the definitions
         of intellectual disability adopted by the AAMR and the
         American Psychiatric Association approvingly, it “left ‘to the
         State[s] the task of developing appropriate ways to enforce
         the constitutional restriction’” on executing intellectually
         disabled persons. Id. at 507 (alteration in original) (quoting
         Atkins, 536 U.S. at 317).
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             In the second case, Moore v. Texas (Moore II), 139 S. Ct.
         666 (2019) (per curiam), the Court reaffirmed its holding in
         Moore I that the petitioner, with an average IQ score of 70.66,
         “had demonstrated sufficient intellectual-functioning deficits”
         under the first criterion of the clinical definition of
         intellectual disability “to require consideration of the second
         criterion – adaptive functioning.” Id. at 668 (citing Moore I,
         137 S. Ct. at 1048–50).

                         STANDARD OF REVIEW

             We review de novo the district court’s denial of a habeas
         petition. See Curiel v. Miller, 830 F.3d 864, 868 (9th Cir.
         2016). Review of Pizzuto’s petition is governed by the
         Antiterrorism and Effective Death Penalty Act of 1996
         (AEDPA) because Pizzuto filed his petition after April 24,
         1996. See Lindh v. Murphy, 521 U.S. 320, 322, 336 (1997).
         Under AEDPA, habeas relief can be granted only if the state
         court proceeding adjudicating the claim on the merits
         “resulted in a decision that was contrary to, or involved an
         unreasonable application of, clearly established Federal law,
         as determined by the Supreme Court of the United States,”
         28 U.S.C. § 2254(d)(1), or “was based on an unreasonable
         determination of the facts in light of the evidence presented
         in the State court proceeding,” id. § 2254(d)(2).

             “[A] decision by a state court is ‘contrary to’ [the
         Supreme Court’s] clearly established law if it ‘applies a rule
         that contradicts the governing law set forth in [the Supreme
         Court’s] cases’ or if it ‘confronts a set of facts that are
         materially indistinguishable from a decision of th[e Supreme]
         Court and nevertheless arrives at a result different from [the
         Supreme Court’s] precedent.’” Price v. Vincent, 538 U.S.
         634, 640 (2003) (quoting Williams v. Taylor, 529 U.S. 362,
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         405–06 (2000)). “[A] state-court decision involves an
         unreasonable application of th[e Supreme] Court’s precedent
         if the state court identifies the correct governing legal rule
         from th[e Supreme] Court’s cases but unreasonably applies it
         to the facts of the particular state prisoner’s case.” Williams,
         529 U.S. at 407. To satisfy this requirement, the record
         “must show that the state court’s ruling . . . was so lacking in
         justification that there was an error well understood and
         comprehended in existing law beyond any possibility for
         fairminded disagreement.” Harrington v. Richter, 562 U.S.
         86, 103 (2011). The question “is not whether a federal court
         believes the state court’s determination was incorrect but
         whether that determination was unreasonable – a substantially
         higher threshold.” Schriro v. Landrigan, 550 U.S. 465, 473
         (2007) (citing Williams, 529 U.S. at 410). Turning to
         § 2254(d)(2), “we may only hold that a state court’s decision
         was based on an unreasonable determination of the facts if
         ‘we [are] convinced that an appellate panel, applying the
         normal standards of appellate review, could not reasonably
         conclude that the finding is supported by the record.’”
         Murray v. Schriro, 745 F.3d 984, 999 (9th Cir. 2014)
         (alteration in original) (quoting Taylor v. Maddox, 366 F.3d
         992, 1000 (9th Cir. 2004), abrogated on other grounds as
         stated in Murray, 745 F.3d at 1000).

             We apply our review under § 2254(d) to the last reasoned
         state court decision. See Ylst v. Nunnemaker, 501 U.S. 797,
         803–04 (1991); Hibbler v. Benedetti, 693 F.3d 1140, 1146
         (9th Cir. 2012). Here, we review the Idaho Supreme Court’s
         2008 decision. See Pizzuto I, 202 P.3d 642. Because that
         court denied Pizzuto’s Atkins claim on the merits, our review
         under § 2254(d) is limited to the record that was before the
         state court. See Cullen v. Pinholster, 563 U.S. 170, 181
         (2011). We may grant habeas relief only if we conclude both
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         that § 2254(d) is satisfied and, on de novo review, that the
         petitioner is in custody in violation of the Constitution of the
         United States. See Frantz v. Hazey, 533 F.3d 724, 735–37
         (9th Cir. 2008) (en banc).9

                                   DISCUSSION

             Pizzuto invokes both prongs of § 2254(d). He contends
         that the Idaho Supreme Court’s decision was “contrary to” or
         involved an “unreasonable application” of Supreme Court
         precedent. See 28 U.S.C. § 2254(d)(1). Alternatively, he
         contends that the state court’s decision was “based on an
         unreasonable determination of the facts.”          See id.
         § 2254(d)(2). We consider these contentions in turn.

                               A. Section 2254(d)(1)

            We begin by addressing Pizzuto’s argument that the Idaho
         Supreme Court’s decision was “contrary to” or involved an
         “unreasonable application” of clearly established Supreme
         Court precedent under § 2254(d)(1).

             After the Atkins decision, the Idaho legislature adopted
         the following definition of intellectual disability:

                  (a) “Mentally retarded” means significantly
                  subaverage general intellectual functioning
                  that is accompanied by significant limitations


              9
                We may address these two questions – the § 2254(d) inquiry and de
         novo review of the constitutional claim under §§ 2241(c)(3) and 2254(a)
         – in any order. See Frantz, 533 F.3d at 736. Typically, we conduct the
         AEDPA inquiry first, and where, as here, § 2254(d) is not satisfied, we
         need not review the constitutional claim de novo.
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                in adaptive functioning in at least two (2) of
                the following skill areas: communication,
                self-care, home living, social or interpersonal
                skills, use of community resources, self-
                direction, functional academic skills, work,
                leisure, health and safety. The onset of
                significant subaverage general intelligence
                functioning and significant limitations in
                adaptive functioning must occur before age
                eighteen (18) years.

                (b) “Significantly subaverage general
                intellectual functioning” means an
                intelligence quotient of seventy (70) or below.

         Idaho Code § 19-2515A(1).

              In 2008, the Idaho Supreme Court applied this definition
         for the first time in Pizzuto’s case. See Pizzuto I, 202 P.3d
         at 650–55. The court began by noting that “the statutory
         definition . . . requires proof of three elements: (1) an
         intelligence quotient (IQ) of 70 or below; (2) significant
         limitations in adaptive functioning in at least two of the ten
         areas listed; and (3) the onset of the offender’s IQ of 70 or
         below and the onset of his or her significant limitations in
         adaptive functioning both must have occurred before the
         offender turned age eighteen.” Id. at 651. Focusing on the
         first element, the court held that, “[i]n order for Pizzuto to
         have presented a prima facie case, there must be evidence
         showing that he had an IQ of seventy or below before age
         eighteen.” Id.

             The court then noted that the record included only one IQ
         test score for Pizzuto – a Verbal IQ of 72 on the Wechsler
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         Adult Intelligence Scale, Revised, administered by Dr. Emery
         in December 1985, shortly before Pizzuto’s 29th birthday.
         See id. This test score, the court concluded, was insufficient
         to establish an IQ of 70 or below before the age of 18:

                Pizzuto argues that an IQ score is only
                accurate within five points. He contends that
                his actual IQ could have been five points
                lower or higher than 72. There are two
                problems with that argument.

                    First, when enacting Idaho Code § 19-
                2515A(1), the legislature did not require that
                the IQ score be within five points of 70 or
                below. It required that it be 70 or below.
                Although Pizzuto argued that the district court
                should infer that Pizzuto’s actual IQ was
                lower than his test score, the court could just
                as reasonably have inferred that it was higher.
                The alleged error in IQ testing is plus or
                minus five points. The district court was
                entitled to draw reasonable inferences from
                the undisputed facts. It would be just as
                reasonable to infer that Pizzuto’s IQ on
                December 12, 1985, was 77 as it would be to
                infer that it was 67.

                    Second, Pizzuto’s argument also requires
                the district court to infer that Pizzuto’s IQ had
                not decreased during the eleven-year period
                from his eighteenth birthday to the date of his
                IQ test. The district court, as the trier of fact,
                was not required to make that inference,
                especially in light of the opinions of Pizzuto’s
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                 experts that his long history of drug abuse and
                 his epilepsy would have negatively impacted
                 his mental functioning.

         Id. (citation omitted).

              Pizzuto argues that the Idaho Supreme Court’s decision
         was both “contrary to” and an “unreasonable application” of
         Atkins. His argument begins with the premise that Atkins
         “embraced the clinical definitions of intellectual disability set
         by the American Association on Mental Retardation . . . and
         the American Psychiatric Association.” Opening Brief at 26
         (citing Atkins, 536 U.S. at 308 n.3, 317 n.22). Then, relying
         on that premise, he argues that the Idaho court disregarded
         these clinical definitions by (1) applying a “hard IQ-70
         cutoff” and (2) requiring him to provide the court with IQ
         testing completed before his 18th birthday. Id. at 31–36.

               Specifically, Pizzuto contends that the Idaho Supreme
         Court’s application of a “hard IQ-70 cutoff” disregarded the
         clinical definitions by: (1) “expressly confin[ing] the
         consideration of the first criteri[on] to an IQ score only,”
         “tak[ing] the IQ score as final and conclusive evidence of a
         defendant’s intellectual capacity when experts in the field
         would consider other evidence”; (2) “reject[ing] the scientific
         limitations of testing, including the standard of error
         measurement . . . universally recognized by the medical
         and psychological professions”; (3) “completely
         misunderst[anding] the purpose and effect of the [standard
         error of measurement]”; and (4) “refus[ing] to consider the
         . . . Flynn Effect.” Id. at 31–32.
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              1. “Contrary to” Prong

             Initially, we reject Pizzuto’s argument that the Idaho
         court’s decision was “contrary to” Atkins. For purposes of
         § 2254(d)(1), “clearly established Federal law” includes only
         the holdings, as opposed to the dicta, of the Supreme Court’s
         decisions. See White v. Woodall, 572 U.S. 415, 419 (2014).
         Here, the Idaho Supreme Court identified the applicable
         Supreme Court precedent – Atkins – and acknowledged its
         holding that the Eighth Amendment prohibits the execution
         of intellectually disabled offenders. See Pizzuto I, 202 P.3d
         at 648. The state court’s decision, therefore, was not
         “contrary to” Atkins. Although Pizzuto argues that the state
         court failed to follow the clinical standards issued by the
         AAMR and the American Psychiatric Association, Atkins did
         not hold that these standards apply. See Shoop, 139 S. Ct.
         at 507 (“Atkins gave no comprehensive definition of ‘mental
         retardation’ for Eighth Amendment purposes.”). The state
         court’s decision, therefore, could not have been “contrary to”
         Atkins on this basis.

             We also reject Pizzuto’s suggestion that the Idaho
         Supreme Court’s application of a hard IQ-70 cutoff was
         “contrary to” or an “unreasonable application of” Atkins’
         “progeny” – a reference to Hall, Brumfield and Moore I.
         Opening Brief at 31. These three cases were decided in 2014,
         2015 and 2017 respectively – years after the Idaho Supreme
         Court’s 2008 decision in Pizzuto’s case. “[U]nder . . .
         § 2254(d)(1), habeas relief may be granted only if the state
         court’s adjudication ‘resulted in a decision that was contrary
         to, or involved an unreasonable application of,’ Supreme
         Court precedent that was ‘clearly established’ at the time of
         the adjudication.” Shoop, 139 S. Ct. at 506 (emphasis
         added); see also Lockyer v. Andrade, 538 U.S. 63, 71–72
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         (2003) (“‘[C]learly established Federal law’ under
         § 2254(d)(1) is the governing legal principle or principles set
         forth by the Supreme Court at the time the state court renders
         its decision.” (emphasis added)). The Idaho Supreme Court’s
         decision, therefore, could not have been “contrary to” or an
         “unreasonable application” of Atkins’ “progeny.”

             2. “Unreasonable Application” Prong

             Pizzuto’s contention that the Idaho Supreme Court’s
         decision involved an “unreasonable application” of Atkins
         fails as well.

             Pizzuto is correct that the Idaho Supreme Court’s
         application of a “hard IQ-70 cutoff” was inconsistent with the
         clinical definitions in place at the time of the state court’s
         decision. The DSM-IV, adopted in 2000, defined the
         diagnostic criteria for intellectual disability as:

                A. Significantly subaverage intellectual
                   functioning: an IQ of approximately 70 or
                   below on an individually administered IQ
                   test (for infants, a clinical judgment of
                   significantly subaverage intellectual
                   functioning).

                B. Concurrent deficits or impairments in
                   present adaptive functioning (i.e., the
                   person’s effectiveness in meeting the
                   standards expected for his or her age by
                   his or her cultural group) in at least two of
                   the following areas: communication, self-
                   care, home living, social/interpersonal
                   skills, use of community resources, self-
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                         direction, functional academic skills,
                         work, leisure, health, and safety.

                     C. The onset is before age 18 years.

         DSM-IV at 49 (emphasis added). This standard does not
         require an IQ of 70 or below; it requires “an IQ of
         approximately 70 or below.” Id. (emphasis added). Under
         the DSM-IV, therefore, “it is possible to diagnose Mental
         Retardation in individuals with IQs between 70 and 75 who
         exhibit significant deficits in adaptive behavior.” Id.
         at 41–42.10

             The 10th edition of the AAMR manual, adopted in 2002,
         defined intellectual disability as follows:




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                   Under the DSM-IV:

                     Significantly subaverage intellectual functioning is
                     defined as an IQ of about 70 or below (approximately
                     2 standard deviations below the mean). It should be
                     noted that there is a measurement error of
                     approximately 5 points in assessing IQ, although this
                     may vary from instrument to instrument (e.g., a
                     Wechsler IQ of 70 is considered to represent a range of
                     65–75). Thus, it is possible to diagnose Mental
                     Retardation in individuals with IQs between 70 and 75
                     who exhibit significant deficits in adaptive behavior.
                     Conversely, Mental Retardation would not be
                     diagnosed in an individual with an IQ lower than 70 if
                     there are no significant deficits or impairments in
                     adaptive functioning.

         DSM-IV at 41–42.
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                Mental retardation is a disability characterized
                by significant limitations both in intellectual
                functioning and in adaptive behavior as
                expressed in conceptual, social, and practical
                adaptive skills. This disability originates
                before age 18.

         AAMR, Mental Retardation: Definition, Classification, and
         Systems of Supports 8 (10th ed. 2002). Under the intellectual
         functioning prong, “[t]he criterion for diagnosis is
         approximately two standard deviations below the mean,
         considering the standard error of measurement for the
         specific assessment instrument used and the instrument’s
         strengths and weaknesses.” Id. at 37 (emphasis added). “In
         effect, this expands the operational definition of mental
         retardation to 75, and that score of 75 may still contain
         measurement error.” Id. at 59.

              In contrast to these clinical standards, the Idaho Supreme
         Court required an offender to establish an IQ of 70 or below
         under all circumstances, regardless of the offender’s deficits
         in adaptive functioning. Although the Idaho court recognized
         that “[t]he alleged error in IQ testing is plus or minus five
         points,” Pizzuto I, 202 P.3d at 651, it nonetheless required
         Pizzuto to establish an “actual IQ” of 70 or below. See
         Pizzuto III, 729 F.3d at 1217 n.2; Pizzuto I, 202 P.3d at 651
         (“[T]he statutory definition . . . requires proof of . . . an
         intelligence quotient (IQ) of 70 or below . . . . Significant
         limitations in adaptive functioning alone will not bring an
         offender within the protection of the statute.”); id. (“[W]hen
         enacting Idaho Code § 19-2515A(1), the legislature did not
         require that the IQ score be within five points of 70 or below.
         It required that it be 70 or below.”). In doing so, the court
         failed to recognize that “it is possible to diagnose Mental
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         Retardation in individuals with IQs between 70 and 75 who
         exhibit significant deficits in adaptive behavior.” DSM-IV
         at 41–42. Nor did the court consider whether Pizzuto
         satisfied this standard. The state court’s decision, therefore,
         was contrary to the clinical definitions in place at the time.

             This conclusion alone, however, does not establish that
         the Idaho Supreme Court unreasonably applied Atkins for
         purposes of § 2254(d)(1). At the time of the state court’s
         decision in 2008, it was not yet apparent that states were
         required to define intellectual disability in accordance with
         these prevailing clinical definitions. To be sure, Atkins had
         cited these clinical definitions with approval, noting that
         statutory definitions generally conformed to them and
         explaining that “an IQ between 70 and 75 or lower . . . is
         typically considered the cutoff IQ score for the intellectual
         function prong of the mental retardation definition.” Atkins,
         536 U.S. at 308 n.3, 309 n.5, 317 n.22. The Court, however,
         did not adopt these definitions or require states to follow
         them. On the contrary, the Court expressly “le[ft] to the
         States the task of developing appropriate ways to enforce the
         constitutional restriction upon their execution of sentences.”
         Id. at 317 (alterations omitted) (quoting Ford, 477 U.S.
         at 416–17).

             It is now clear that “[t]he legal determination of
         intellectual disability . . . is informed by the medical
         community’s diagnostic framework,” Hall, 572 U.S. at 721,
         and that “[t]he medical community’s current standards supply
         one constraint on States’ leeway in this area,” Moore I, 137 S.
         Ct. at 1053. It was not apparent in 2008, however, that states
         were required to adhere strictly to the AAMR’s and American
         Psychiatric Association’s clinical standards.              We
         acknowledge Hall’s statements that Atkins “provide[d]
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         substantial guidance on the definition of intellectual
         disability,” that “[t]he clinical definitions of intellectual
         disability . . . were a fundamental premise of Atkins” and that
         “Atkins did not give the States unfettered discretion to define
         the full scope of the constitutional protection.” Hall,
         572 U.S. at 719–21. The Supreme Court, however, has held
         that “Atkins gave no comprehensive definition of ‘mental
         retardation’ for Eighth Amendment purposes.” Shoop, 139 S.
         Ct. at 507; see also Bobby v. Bies, 556 U.S. 825, 831 (2009)
         (explaining that Atkins “did not provide definitive procedural
         or substantive guides for determining when a person who
         claims mental retardation ‘will be so impaired as to fall
         within Atkins’ compass’” (alteration omitted) (quoting Atkins,
         536 U.S. at 317)); Ybarra v. Filson, 869 F.3d 1016, 1024 (9th
         Cir. 2017) (“Significantly, Atkins ‘did not provide definitive
         procedural or substantive guides’ to determine who qualifies
         as intellectually disabled.” (quoting Bies, 556 U.S. at 831));
         Moormann v. Schriro, 672 F.3d 644, 648 (9th Cir. 2012)
         (“The Supreme Court in Atkins did not define mental
         retardation as a matter of federal law.”).

             This is not a case in which the state court utterly
         disregarded the clinical definitions. To be sure, the Idaho
         Supreme Court erred by defining the significantly subaverage
         intellectual functioning criterion as an IQ of 70 or below, see
         Idaho Code § 19-2515A(1)(b); Pizzuto I, 202 P.3d at 651,
         rather than “an IQ of approximately 70 or below,” DSM-IV
         at 49 (emphasis added), and it erred by disregarding the
         portions of the clinical standards recognizing that “it is
         possible to diagnose Mental Retardation in individuals with
         IQs between 70 and 75 who exhibit significant deficits in
         adaptive behavior,” id. at 41–42. In other respects, however,
         § 19-2515A(1) tracks the clinical definitions cited by Atkins.
         See Atkins, 536 U.S. at 308 n.3. In contrast to Hall,
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         moreover, the Idaho court at least recognized the existence of
         a standard error of measurement of plus or minus five points
         and afforded Pizzuto an opportunity to “present additional
         evidence of intellectual disability even when an IQ test score
         is above 70.” Hall, 572 U.S. at 717.

              In short, because it was not apparent in 2008 that states
         were required to adhere closely to the clinical definitions of
         intellectual disability, the Idaho Supreme Court’s application
         of a “hard IQ-70 cutoff” was not an “unreasonable
         application” of Atkins.         “[R]elief is available under
         § 2254(d)(1)’s unreasonable-application clause if, and only if,
         it is so obvious that a clearly established rule applies to a
         given set of facts that there could be no ‘fairminded
         disagreement’ on the question.” Woodall, 572 U.S. at 427
         (quoting Richter, 562 U.S. at 103). We cannot say that this
         standard has been satisfied here.

             Relatedly, it is now clear as a matter of federal law that
         “an individual with an IQ test score ‘between 70 and 75 or
         lower’ may show intellectual disability by presenting
         additional evidence regarding difficulties in adaptive
         functioning.” Hall, 572 U.S. at 722 (citation omitted)
         (quoting Atkins, 536 U.S. at 309 n.5); see id. at 723 (“[W]hen
         a defendant’s IQ test score falls within the test’s
         acknowledged and inherent margin of error, the defendant
         must be able to present additional evidence of intellectual
         disability, including testimony regarding adaptive deficits.”);
         Brumfield, 135 S. Ct. at 2278 (“[I]t is unconstitutional to
         foreclose ‘all further exploration of intellectual disability’
         simply because a capital defendant is deemed to have an IQ
         above 70.” (quoting Hall, 572 U.S. at 704)); Moore I, 137 S.
         Ct. at 1049 (“Because the lower end of Moore’s score range
         falls at or below 70, the [state court] had to move on to
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         consider Moore’s adaptive functioning.”); DSM-5 at 37
         (“Individuals with intellectual disability have scores of
         approximately two standard deviations or more below the
         population mean, including a margin for measurement error
         (generally +5 points). On tests with a standard deviation of
         15 and a mean of 100, this involves a score of 65–75 (70 ±
         5).”); id. (“IQ test scores are approximations of conceptual
         functioning but may be insufficient to assess reasoning in
         real-life situations and mastery of practical tasks. For
         example, a person with an IQ score above 70 may have such
         severe adaptive behavior problems in social judgment, social
         understanding, and other areas of adaptive functioning that
         the person’s actual functioning is comparable to that of
         individuals with a lower IQ score.”); AAIDD-11 at 35
         (“[T]he intellectual functioning criterion for diagnosis of
         [intellectual disability] is approximately two standard
         deviations below the mean, considering the standard error of
         measurement . . . . The intent of this definition is not to
         specify a hard and fast cutoff point/score for meeting the
         significant limitations in intellectual functioning criterion
         . . . . In addition, significant limitations in intellectual
         functioning is only one of the three criteria used to establish
         a diagnosis of [intellectual disability].”); id. at 40 (“A fixed
         point cutoff score for [intellectual disability] is not
         psychometrically justifiable.”). The Idaho Supreme Court
         violated this principle by requiring an “actual” IQ of 70 or
         below. This point, however, was not beyond fairminded
         disagreement in 2008. We cannot say, therefore, that the
         Idaho Supreme Court’s application of Atkins “was so lacking
         in justification that there was an error well understood and
         comprehended in existing law beyond any possibility for
         fairminded disagreement.” Richter, 562 U.S. at 103.
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             We reach the same conclusion with respect to the Idaho
         Supreme Court’s failure to apply the Flynn effect.11 Although
         mentioned in recent clinical standards, see DSM-5 at 37;
         AAIDD-11 at 37, Atkins did not discuss the Flynn effect, and
         clinical standards in existence at the time of the Idaho
         Supreme Court’s decision in 2008 did not discuss the need to
         adjust IQ test scores to account for the use of outdated test
         norms. Thus, “it cannot be said that the [state court’s] failure
         to consider and apply the Flynn Effect is contrary to, or an
         unreasonable application of, clearly established federal law.”
         Hooks v. Workman, 689 F.3d 1148, 1170 (10th Cir. 2012).

             Finally, we reject Pizzuto’s contention that the Idaho
         Supreme Court’s decision was contrary to or an unreasonable
         application of Atkins because the court required him to
         provide the results of an IQ test administered before his 18th
         birthday. With respect to this contention, we simply disagree


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                 The Flynn effect refers to the observation that IQ scores have been
         increasing over time. See AAIDD-11 at 37; Smith v. Ryan, 813 F.3d 1175,
         1184 (9th Cir. 2016) (“The basic premise of the Flynn effect is that
         because average IQ scores increase over time, a person who takes an IQ
         test that has not recently been normed against a representative sample of
         the population will receive an artificially inflated IQ score.” (emphasis
         omitted)). In light of this effect, the AAIDD has indicated that “best
         practices require recognition of a potential Flynn Effect when older
         editions of an intelligence test (with corresponding older norms) are used
         in the assessment or interpretation of an IQ score.” AAIDD-11 at 37. “In
         cases where a test with aging norms is used, a correction for the age of the
         norms is warranted.” Id.; see Smith, 813 F.3d at 1185 (noting that the
         AAIDD-11 “recognizes the existence of the Flynn Effect and recommends
         correcting for the age of norms in outdated tests”). The DSM-5 likewise
         identifies the Flynn effect as one of several “[f]actors that may affect test
         scores.” DSM-5 at 37. Here, Pizzuto argues that, when his IQ score of 72
         is adjusted for the Flynn effect, “it becomes a score of 70.” Opening Brief
         at 33 n.2.
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         with Pizzuto’s reading of the Idaho Supreme Court’s
         decision. If the state court had required Pizzuto to present a
         pre-18 IQ test score, it could have disposed of his claim
         simply by noting the absence of such a score in the record.
         Instead, it explained that “there must be evidence showing
         that [Pizzuto’s] IQ was 70 or below prior to his eighteenth
         birthday,” Pizzuto I, 202 P.3d at 651, regardless of when he
         was tested.

                                     ***

             In sum, the record does not establish that the Idaho
         Supreme Court’s decision was “contrary to” or involved an
         “unreasonable application” of clearly established Supreme
         Court precedent. See 28 U.S.C. § 2254(d)(1). Although the
         state court’s decision was contrary to clinical standards in
         place at the time, it was not obvious at that time that strict
         adherence to the clinical standards was required. Similarly,
         although the state court’s requirement of an IQ of 70 or below
         is contrary to Hall, Brumfield and Moore I, these decisions all
         postdated the state court’s decision, and it was not obvious
         under Atkins alone that, for Eighth Amendment purposes, “an
         individual with an IQ test score ‘between 70 and 75 or lower’
         may show intellectual disability by presenting additional
         evidence regarding difficulties in adaptive functioning.”
         Hall, 372 U.S. at 722 (citation omitted) (quoting Atkins,
         536 U.S. at 309 n.5). Cf. Shoop, 139 S. Ct. at 508 (“Although
         the Court of Appeals asserted that the holding in Moore was
         ‘merely an application of what was clearly established by
         Atkins,’ the court did not explain how the rule it applied can
         be teased out of the Atkins Court’s brief comments about the
         meaning of what it termed ‘mental retardation.’” (citation
         omitted)); Ybarra, 869 F.3d at 1024–25 (“[A]lthough Ybarra
         insists that the Nevada Supreme Court unreasonably applied
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         Atkins, he relies almost exclusively on the Supreme Court’s
         subsequent, more detailed decisions in Moore, Hall, and
         Brumfield. These decisions might redefine and expand
         Atkins, but they cannot show that the Nevada Supreme Court
         applied Atkins in a way that ‘was so lacking in justification
         that there was an error well understood and comprehended in
         existing law beyond any possibility for fairminded
         disagreement.’” (footnote omitted) (quoting Richter, 562 U.S.
         at 103)).

                            B. Section 2254(d)(2)

             Pizzuto alternatively contends that the Idaho Supreme
         Court’s decision “was based on an unreasonable
         determination of the facts in light of the evidence presented
         in the State court proceeding.” 28 U.S.C. § 2254(d)(2).

             Under § 2254(d)(2), we may not characterize a state
         court’s factual determinations as unreasonable “merely
         because [we] would have reached a different conclusion in
         the first instance.” Brumfield, 135 S. Ct. at 2277 (alteration
         in original) (quoting Wood v. Allen, 558 U.S. 290, 301
         (2010)). “Instead, § 2254(d)(2) requires that we accord the
         state trial court substantial deference.” Id. “If ‘[r]easonable
         minds reviewing the record might disagree about the finding
         in question, on habeas review that does not suffice to
         supersede the trial court’s . . . determination.’” Id.
         (alterations in original) (quoting Wood, 558 U.S. at 301).

             Here, Pizzuto challenges the state court’s factual
         determinations on several grounds. We address them in turn.
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             1. Pizzuto’s Argument That the State Court’s
                Determinations Are Unreasonable Because They
                Are Inconsistent with Clinical Definitions

             Pizzuto argues that the Idaho Supreme Court’s factual
         determinations “are unreasonable because they are not
         consistent with clinical definitions and best practices in
         defining and diagnosing [intellectual disability] as guaranteed
         by the Eighth Amendment in Atkins and enforced in Hall.”
         Opening Brief at 37. He maintains that “[t]he state court’s
         factual findings are unreasonable in light of the record before
         it because they are in direct conflict with professional
         standards established to determine intellectual disability and
         thus, not ‘informed by’ them as instructed by Hall.” Id. at 38.

             As noted, we agree with Pizzuto that the Idaho Supreme
         Court failed to apply the clinical standards in use at the time
         of its decision. Those standards required an IQ of
         “approximately 70” and recognized that “it is possible to
         diagnose Mental Retardation in individuals with IQs between
         70 and 75 who exhibit significant deficits in adaptive
         behavior.” DSM-IV at 41–42. The Idaho Supreme Court, by
         contrast, required an “actual” IQ of “70 or below,”
         irrespective of “[s]ignificant limitations in adaptive
         functioning.” Pizzuto I, 202 P.3d at 651. Pizzuto, therefore,
         is correct in arguing that the state court’s determination that
         he failed to make a prima facie showing of intellectual
         disability is “not consistent with clinical definitions”
         discussed in Atkins and subsequently required by Hall.

             Under § 2254(d)(2), however, we review a state court’s
         factual determinations, not its legal conclusions. Here, the
         Idaho Supreme Court did not purport to determine whether
         Pizzuto was intellectually disabled under the clinical
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         definitions. Instead, it determined only that Pizzuto failed to
         make a prima facie “showing that his IQ was 70 or below
         prior to his eighteenth birthday.” Id. It is that factual
         determination, therefore, that we may review under
         § 2254(d)(2), not the state court’s legal conclusion that an IQ
         of 70 or below was required. Accordingly, we must reject
         Pizzuto’s contention that the state court’s factual
         determinations are unreasonable merely because the state
         court did not apply the clinical definitions of intellectual
         disability.

              2. Pizzuto’s Argument That the State Court’s
                 Unreasonably Failed to Consider His School
                 Records as Evidence of Subaverage Intellectual
                 Functioning

             Pizzuto argues that the Idaho Supreme Court’s
         determination that he failed to make a prima facie showing
         that his IQ was 70 or below before his 18th birthday was
         unreasonable because it focused exclusively on his single IQ
         test score while ignoring other evidence of subaverage
         intellectual functioning in the form of his “abysmal school
         record.” Opening Brief at 39.

             Pizzuto is correct that a “state-court fact-finding process
         is undermined where the state court has before it, yet
         apparently ignores, evidence that supports petitioner’s claim.”
         Taylor, 366 F.3d at 1001. Here, however, Pizzuto has not
         shown that the Idaho Supreme Court ignored such evidence.

             First, although Pizzuto cites his “abysmal school record,”
         the actual evidence in the record regarding his schooling is
         sparse and incomplete. It consists solely of affidavits from
         five educators, two of whom have no specific recollection of
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         Pizzuto. Although some of these records show that Pizzuto
         received low grades and was held back, there are many
         reasons Pizzuto may have performed poorly in school, and no
         expert opined that this poor performance was evidence of
         significantly subaverage intellectual functioning or an IQ of
         70 or below. Thus, even if Pizzuto’s school records are some
         evidence of pre-18 significantly subaverage intellectual
         functioning, they do not render unreasonable the Idaho
         Supreme Court’s determination that Pizzuto failed to make a
         prima facie showing that he had an IQ of 70 or below before
         the age of 18. School records can be strong evidence of
         intellectual disability. See, e.g., Moore I, 137 S. Ct. at 1051;
         Hall, 572 U.S. at 705, 712; Smith, 813 F.3d at 1186. Here,
         however, the records do not show that the state court’s
         determination was objectively unreasonable under
         § 2254(d)(2)’s demanding standard.

             Second, we cannot say that the Idaho Supreme Court
         ignored this evidence within the meaning of Taylor when it
         was Pizzuto himself who failed to bring the evidence to the
         court’s attention. In state court, Pizzuto cited his school
         records to show limitations in adaptive functioning but not to
         establish subaverage intellectual functioning. To establish
         the latter, Pizzuto instead “relied solely upon Dr. Emery’s IQ
         determination.” Pizzuto I, 202 P.3d at 652. The state court’s
         focus on Pizzuto’s IQ test score, therefore, was consistent
         with Pizzuto’s own contentions.
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              3. Pizzuto’s Argument That the State Court
                 Unreasonably Determined That His IQ Could
                 Have Declined in Adulthood Due to Drug Abuse
                 and Epilepsy

            Pizzuto argues that it was unreasonable for the Idaho
         Supreme Court to determine that his IQ could have declined
         between the time he was 18 (in 1974) and the time of Dr.
         Emery’s IQ testing (in 1985).

             The Idaho Supreme Court determined that the state trial
         court could have inferred that Pizzuto’s IQ “decreased during
         the eleven-year period from his eighteenth birthday to the
         date of his IQ test . . . , especially in light of the opinions of
         Pizzuto’s experts that his long history of drug abuse and his
         epilepsy would have negatively impacted his mental
         functioning.” Pizzuto I, 202 P.3d at 651.

             Pizzuto contends that this determination was
         unreasonable. First, he argues that “incidents of drug use and
         epilepsy, if they occurred, would be documented,” because he
         spent nine of these 11 years in prison. Opening Brief at 40.
         Because his prison records do not show continued seizures or
         drug use, Pizzuto argues that a “more reasonable inference”
         would be that he was substantially drug free and not
         experiencing seizures after he turned 19. Id. at 41–42.

             The Idaho Supreme Court’s determination, however, was
         based on record evidence from Pizzuto’s own experts. In
         1988, Dr. James Merikangas noted that Pizzuto had “a life
         long history of almost continuous drug abuse including
         intravenous Heroin as well as cocaine, speed and marijuana”;
         that Pizzuto’s “long history of polydrug abuse has caused him
         further neurological dysfunction and . . . substantial defects
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         of mind and reason”; and that “[w]e will probably not know
         to any scientific degree of accuracy what his state of mind
         was at the time of the alleged crimes.” In 2004, Dr. Craig
         Beaver opined that Pizzuto would benefit from further
         neurological study in part because, “[o]ften, patients that have
         persistent seizure disorders . . . will decline over time in their
         overall mental abilities”:

                 Mr. Pizzuto has continued to require
                 pharmacological management of his seizure
                 disorder since he was last examined by myself
                 in 1996.       He has continued to have
                 neurological difficulties. Therefore, given
                 that it has now been over eight years since his
                 last comprehensive neuropsychological
                 examination, I would strongly recommend
                 that he undergo repeat neuropsychometric
                 studies. Repeat neuropsychometric studies
                 are needed to better determine Gerald
                 Pizzuto’s cognitive abilities. Often, patients
                 that have persistent seizure disorders, for
                 example, will decline over time in their
                 overall mental abilities.

             In light of this evidence, it was not unreasonable for the
         Idaho Supreme Court to determine that the state trial court
         reasonably could have inferred that Pizzuto’s IQ may have
         declined as a result of drug abuse or epilepsy. Even if, as
         Pizzuto contends, a “more reasonable inference” would be
         that he was substantially drug free and not experiencing
         seizures after he turned 19, this does not render the state
         court’s contrary determination objectively unreasonable
         under § 2254(d)(2).
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             Second, Pizzuto argues that it would have been
         unreasonable to infer from Dr. Beaver’s 2004 affidavit that
         Pizzuto’s mental functioning may have declined between
         1974 and 1985, see Pizzuto I, 202 P.3d at 652, because
         “[t]here is no statement in the affidavit that Mr. Pizzuto’s IQ
         had declined . . . between 1996 and 2008,” let alone “any
         statement that Mr. Pizzuto’s IQ had declined . . . from his
         18th birthday to the time of Dr. Emery’s testing.” Opening
         Brief at 42. Dr. Beaver’s affidavit, however, clearly gave the
         impression that Pizzuto’s mental functioning may have
         declined between 1996 and 2004. It would not have been
         unreasonable, therefore, to infer that it also might have
         declined between 1974 and 1985. Dr. Beaver did not need to
         expressly state that a decline in IQ occurred for the Idaho
         Supreme Court to determine that it was possible. The very
         reason Dr. Beaver requested more testing was that those with
         persistent seizure disorders, like Pizzuto, tend to decline in
         their mental abilities over time. The Idaho Supreme Court’s
         determination, therefore, was not unreasonable.

              4. Pizzuto’s Argument That the State Court’s Denial
                 of an Evidentiary Hearing Was Based on an
                 Unreasonable Determination of the Facts

             Pizzuto argues that he “only needed to raise a reasonable
         doubt regarding his intellectual capacity to be entitled to an
         evidentiary hearing” and that the Idaho Supreme Court’s
         determination that he “did not meet that low threshold was
         unreasonable” under § 2254(d)(2). Opening Brief at 46.

             This argument is unpersuasive. First, although Pizzuto
         argues that the Idaho Supreme Court unreasonably
         determined that he did not raise a reasonable doubt regarding
         his intellectual capacity, the Idaho Supreme Court in fact
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         never addressed that question. The only question the state
         court decided was whether Pizzuto had made a prima facie
         showing of intellectual disability, in particular whether he had
         made a prima facie showing of a pre-18 IQ of 70 or below.
         The court did not address whether Pizzuto had raised a
         “reasonable doubt” as to his intellectual disability.
         Accordingly, there is no “reasonable doubt” determination for
         us to review under § 2254(d)(2).

             Second, although Pizzuto contends that the Idaho
         Supreme Court’s failure to apply a “reasonable doubt”
         standard was “contrary to, and an unreasonable application of
         Atkins,” as “expressly addressed in Brumfield,” we must
         disagree. Opening Brief at 46. Atkins did not address the
         legal standard applicable to a request for an evidentiary
         hearing. In Brumfield, the state courts adopted a reasonable
         doubt standard, see Brumfield, 135 S. Ct. at 2274, and the
         Supreme Court presumed that this standard would be
         consistent with Atkins, see id. at 2276 (“[W]e do not question
         the propriety of the legal standard the trial court applied, and
         presume that a rule according an evidentiary hearing only to
         those capital defendants who raise a ‘reasonable doubt’ as to
         their intellectual disability is consistent with our decision in
         Atkins.”). The Court, however, did not adopt a reasonable
         doubt standard. See id. The Idaho Supreme Court’s failure
         to apply such a standard, therefore, was not “contrary to” or
         an “unreasonable application” of Atkins. See 28 U.S.C.
         § 2254(d)(1).

             5. Pizzuto’s Argument That the State Court’s
                Factfinding Process Was Unreasonable

            Pizzuto argues more broadly that the denial of a hearing,
         as well as the denial of access to an expert, rendered the
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         Idaho Supreme Court’s factfinding             process    itself
         unreasonable under § 2254(d)(2).

             As we explained in Hibbler, 693 F.3d at 1146,
         “[c]hallenges under § 2254(d)(2) fall into two main
         categories.” “First, a petitioner may challenge the substance
         of the state court’s findings and attempt to show that those
         findings were not supported by substantial evidence in the
         state court record.” Id. Second, as relevant here, “a
         petitioner may challenge the fact-finding process itself on the
         ground that it was deficient in some material way.” Id. In
         some circumstances, for instance, a “state court’s failure to
         hold an evidentiary hearing may render its fact-finding
         process unreasonable under § 2254(d)(2).” Id. at 1147.

              The Idaho Supreme Court did not specifically address
         whether the state trial court erred by granting summary
         judgment to the state on Pizzuto’s Atkins claim without
         holding an evidentiary hearing. The court, however,
         addressed a related question – whether the state trial court
         erred by dismissing Pizzuto’s petition without permitting
         further testing. See Pizzuto I, 202 P.3d at 655–56. The court
         concluded that the trial court did not err. First, the court
         noted that Pizzuto had not pursued the motion for testing.
         Pizzuto had moved for additional testing in October 2004 but
         he “did not notice this motion for a hearing.” Id. at 655.
         Instead, “[w]ithout pursuing the motion for testing, Pizzuto
         moved for summary judgment on September 23, 2005.” Id.
         He did so, moreover, even though, under Idaho law, “[i]f a
         trial court denies a party’s motion for summary judgment, it
         has discretion to grant summary judgment to the opposing
         party.” Id. at 656 (citing Hardwood v. Talbert, 39 P.3d 612,
         617 (Idaho 2001)). Even in connection with the summary
         judgment proceedings, “Pizzuto did not ask the [state trial]
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         court to rule on his motion for the specified additional
         testing.” Id.

             Second, as framed by the Idaho Supreme Court, the
         central issue in the case was whether Pizzuto could establish
         a pre-18 IQ of 70 or below. Pizzuto did not argue that, were
         he afforded the opportunity to conduct further testing, he
         would develop additional evidence on that question. The
         court reasoned:

                     The definition of “mentally retarded” in
                 Idaho Code § 19-2515A requires that the
                 defendant have an IQ of 70 or below both at
                 the time of the murder(s) and prior to age
                 eighteen. In its briefing opposing Pizzuto’s
                 motion for summary judgment, the State
                 argued that Pizzuto had failed to provide
                 evidence that his IQ was 70 or below and
                 failed to provide evidence showing it was 70
                 or below prior to his eighteenth birthday.
                 Pizzuto’s alleged IQ is obviously a matter
                 requiring expert testimony. He did not offer
                 any expert testimony opining that his IQ was
                 ever 70 or below, nor does he allege that the
                 requested additional testing was intended to
                 address that issue.

         Id. (emphasis added).

             In short, Pizzuto did not pursue his motion for additional
         testing, and he did not contend that further factual
         development of the record would shed additional light on the
         dispositive issue – his ability to establish a pre-18 IQ of 70 or
         below. Under these circumstances, we cannot say that the
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         denial of an evidentiary hearing rendered the state court’s
         factfinding process unreasonable under § 2254(d)(2)’s highly
         deferential standard. See Hibbler, 693 F.3d at 1146–47
         (“[W]hen the challenge is to the state court’s procedure, mere
         doubt as to the adequacy of the state court’s findings of fact
         is insufficient; we must be satisfied that any appellate court
         to whom the defect in the state court’s fact-finding process is
         pointed out would be unreasonable in holding that the state
         court’s fact-finding process was adequate.” (alterations and
         internal quotation marks omitted)).

              6. Pizzuto’s Remaining § 2254(d)(2) Arguments

             The § 2254(d)(2) portion of Pizzuto’s opening brief
         appears to fault the Idaho Supreme Court’s decision on
         several other grounds. The brief says, for example, that the
         Idaho Supreme Court’s decision “rests on an irregular
         application of Idaho law.” Opening Brief at 37. It also
         asserts that the state court’s denial of an evidentiary hearing
         violated Idaho Code § 19-2515A, as well as the
         “requirements of Due Process and Equal Protection.” Id.
         at 44. Pizzuto’s brief, however, does not “specifically and
         distinctly” argue these issues. See United States v. Kama,
         394 F.3d 1236, 1238 (9th Cir. 2005). We therefore decline to
         address them. See id.

                                     ***

             In sum, the record does not establish that the Idaho
         Supreme Court’s decision was based on an unreasonable
         determination of the facts under § 2254(d)(2).
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                                CONCLUSION

             Because § 2254(d) is not satisfied, we hold that the
         district court properly denied habeas relief. We need not
         address Pizzuto’s remaining appellate arguments or review
         his Atkins claim de novo. Accordingly, we do not address
         whether Pizzuto is intellectually disabled or whether his
         execution would violate the Eighth Amendment.

             Our decision, however, does not preclude the Idaho courts
         from reconsidering those questions in light of intervening
         events. Although the Idaho courts rejected Pizzuto’s Atkins
         claim in 2008, they did so without the benefit of an
         evidentiary hearing, without the benefit of the Supreme
         Court’s decisions in Hall, Brumfield and Moore I, and
         without the benefit of the most recent iterations of the
         AAIDD and American Psychiatric Association clinical
         standards. Since 2008, the United States Supreme Court has
         made clear that “it is unconstitutional to foreclose ‘all further
         exploration of intellectual disability’ simply because a capital
         defendant is deemed to have an IQ above 70,” Brumfield,
         135 S. Ct. at 2278 (quoting Hall, 572 U.S. at 704), and the
         professional clinical standards now advise that “best practices
         require recognition of a potential Flynn Effect when older
         editions of an intelligence test (with corresponding older
         norms) are used in the assessment or interpretation of an IQ
         score,” AAIDD-11 at 37. The Idaho courts have not yet
         addressed whether, under these standards, Pizzuto’s execution
         would violate the Eighth Amendment.

             The judgment of the district court is affirmed. Each party
         shall bear its own costs on appeal.

             AFFIRMED.
